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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI


RANATA FRANK, on behalf of herself           )
    and all others similarly situated,       )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )       Case No. 4:20-cv-597
                                             )
                                             )
THE CITY OF ST. LOUIS,                       )
                                             )
                Defendant.                   )


                                 ENTRY OF APPEARANCE
       Lee R. Camp, No. 67072MO, and ArchCity Defenders, Inc. enter their appearance on

behalf of Plaintiff Ranata Frank in the above-styled cause.

Dated: May 1, 2020                                     Respectfully submitted,

                                                       By: /s/ Lee R. Camp
                                                       ARCHCITY DEFENDERS, INC.

                                                       Lee R. Camp (MBE #67072MO)
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                                                       Saint Louis, MO 63102
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